           Case 2:20-cv-00269-LRS                  ECF No. 19        filed 09/28/21       PageID.1060 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                              FILED IN THE
                                                                                                               U.S. DISTRICT COURT
                                                                                                         EASTERN DISTRICT OF WASHINGTON
                                                                  for thH_
                                                     Eastern District of Washington                       Sep 28, 2021
                                                                                                              SEAN F. MCAVOY, CLERK


                       TRACY RAY E.,                                 )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 2:20-CV-00269-FVS
                                                                     )
                                                                     )
               KILOLO KIJAKAZI,
       COMMISSIONER OF SOCIAL SECURITY,
                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment, ECF No. 13, is DENIED.
u
              Defendant’s Motion for Summary Judgment, ECF No. 14, is GRANTED.
              Judgment entered for the Defendant.



This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge              Rosanna Malouf Peterson                                    on parties' cross motions for summary judgment.




Date: September 28, 2021                                                   CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Sara Gore
                                                                                           %\ Deputy Clerk

                                                                            Sara Gore
